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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                    CASE NO.: 4:03cr25-SPM

DAVID WAYNE JACKSON,

           Defendant.
____________________________/

                      ORDER CONTINUING TRIAL AND
               SETTING SCHEDULE FOR MOTION TO SUPPRESS

         Pending before the Court is Defendant Jackson’s stipulated motion for

continuance of trial (doc. 30). As grounds, Defendant explains that he filed a

motion to suppress on May 4, 2005. Defendant is currently scheduled for trial on

the May 16, 2005 Tallahassee trial docket, but there is not enough time before

the scheduled trial date for the Court to hear and consider the motion.

         The Government does not oppose a continuance. The resulting delay will

not be included in the speedy trial act period. 18 U.S.C. § 3161(h)(1)(F); United

States v. Davenport, 935 F.2d 1223, 1228 (11th Cir. 1991). The ends of justice

served by granting the continuance outweigh the best interests of the public and

Defendant in a speedy trial. Accordingly, it is

         ORDERED AND ADJUDGED:

         1.    Defendant’s motion for continuance (doc. 30) is granted.
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        2.       Trial is reset for 8:30 a.m. on June 27, 2005 at the United States

Courthouse in Tallahassee, Florida.

        3.       The motion to suppress will be heard on Monday, May 16, 2005 at

9:00 a.m.

        4.       On or before May 12, 2005, the Government shall file a written

response to the motion to suppress.

        DONE AND ORDERED this 10th day of May, 2005.


                                        s/ Stephan P. Mickle
                                     Stephan P. Mickle
                                     United States District Judge




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